                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 BOYD SMITH, NANCY SMITH, JOEY             )
 SMITH, JEFFREY SMITH, JILL SMITH,
 BESSIE HACKNEY, WILLIAM GRAY,             )
 PEGGY GRAY, and GREGORY
 HOUSTON,                                  )         No.: 3:04-CV-591
                                                     Jarvis/Guyton
       Plaintiffs,                         )

 v.                                        )

 FIRST CENTURY BANK, CONNIE                )
 DYER, SHERI LAWSON, and DELORES                     Consolidated
 GRAVES,                                   )

       Defendants.                         )

 and                                       )
                                           )
 ERNEST NICELY and PATRICIA                          No. 3:05-CV-175
 NICELY,                                   )         Jarvis/Guyton

        Plaintiffs,                        )

 v.                                        )

 FIRST CENTURY BANK, CONNIE                )
 DYER, SHERI LAWSON, and DELORIS
 GRAVES,                                   )

        Defendants.                        )



                 AGREED ORDER ON MOTION TO EXTEND DEPOSITION

        Upon the agreement of plaintiffs and defendants First Century Bank, Sheri Lawson, and

 Deloris Graves, it is hereby

        ORDERED, that the motion of defendants First Century Bank, Sheri Lawson, and Deloris

 Graves to extend the deposition of Nancy Smith for one additional day of seven hours is



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 GRANTED.       It is further ORDERED, that the deposition of Joyce Love, in her individual

 capacity, be extended for one additional day of seven hours.

                                             ENTER:


                                                   s/ H. Bruce Guyton
                                             United States Magistrate Judge
 APPROVED FOR ENTRY:

 /s/Adrienne L. Anderson
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